         Case 4:17-cv-40095-TSH Document 13 Filed 07/24/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 TIFFANY SULLIVAN,
                                                           No. 4:17-cv-40095-TSH
        Plaintiff,
 v.

 MIDLAND CREDIT MANAGEMENT, INC.

        Defendant.


                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) the parties herein stipulate that this matter be

dismissed with prejudice, and without costs. All rights of appeal are waived.


Respectfully submitted,


Plaintiff,                                    Defendant,
Tiffany Sullivan,                             Midland Credit Management, Inc.
By counsel,                                   By counsel,

/s/ Christopher M. Brine                      /s/ Kara Thorvaldsen
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          Case 4:17-cv-40095-TSH Document 13 Filed 07/24/18 Page 2 of 2



                                 CERTIFICATE OF SERVICE

I, Christopher M. Brine, certify that the documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Christopher M. Brine
                                              Christopher M. Brine (BBO 679289)




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